                                       DOCUMENT2
              Case 2:17-cv-00220-CSC Document 1-1 Filed 04/13/17 Page  1 of 8
                                                                 \ ELECTRONICALLY FILED
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                                               Exhibit A	                            O3CV2O17-9OO2OlOO
                                                                                     CIRCUIT COURT OF
                                                                                MONTGOMERY COUNTY ALABAMA
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                                                                                                 I I. VIJJLJ,
       IN THE CIRCUIT COURT OF MONTGOMERY COUNTY,	


AARON L. THORN,	                                        )
                                                        )
       Plaintiff,	                                      )
                                                        )
V.	                                                 ) Case No.: 03-2017-cv_____________
WAFFLE HOUSE, INC., d/b/a WAFFLE 	                  ) DEMAND FOR JURY TRIAL
HOUSE STORE #576; Marquetta Johnson, )
store Manager for WAFFLE HOUSE STORE )
#576; NEL GRAIN WOOD, District Manager )
for WAFFLE HOUSE STORE #576; and those )
persons, corporations and/or other legal entities,)
including assignors or successors in interest 	     )
to the defendants named herein, and who are	        )
liable to the plaintiff for damages arising out of )
the facts and circumstances that form the	          )
underlying basis of this lawsuit, designated )
herein as fictitious parties, A, B, C, and whose )
names are otherwise unknown to the plaintiff )
but who will be added hereto by amendment 	         )
when ascertained.	                                  )
                                                    )
        Defendants.	                                )

                                             COMPLAINT

       COMES NOW, Plaintiff Aaron L. Thorn, by and through his undersigned counsel, and for

want of prosecution, file this complaint in the above-styled cause:

                                            THE PARTIES

        I.	       Plaintiff is over the age of nineteen (19) years and resident of Staten Island, New

York. All actions complained of herein by the plaintiff against the defendants occurred in

Montgomery County, Alabama.

       2.	        Defendant Waffle House, Inc. is a restaurant chain and operates Waffle House Store

#576, located at 5180 Carmichael Road, Montgomery, Alabama 36106. Defendants Marquetta

Johnson and Nei Grainwood are respectively, at all times material hereto, the Store Manager and

District Manager for Waffle House, Inc. at its Waffle House Store #576, and are being sued in their
                                  DOCUMENT
         Case 2:17-cv-00220-CSC Document 1-12 Filed 04/13/17 Page 2 of 8



representative capacity as employees, servant and/or agent of their principal, master and/or

employer, on the basis of vicarious liability and respondeat superior.

        3.     The fictitious party defendants named herein as A, B and C, whether singular or

plural, are those persons, firms, corporation or other business organizations, legal entities,

including, but not limited to their assignors or successors in interest, who are legally responsible to

the plaintiff for any and all damages and injuries he has suffered as a direct and proximate result of

the occurrences which form the underlying basis of this lawsuit. The true and correct identities of

said defendants are presently unknown to the plaintiff, but will be added by amendment when

ascertained.

                                         ALLEGATIONS OF FACT

       4.      The plaintiff avers that on or about March 01, 2015, he was a business invitee of the

defendants' premises, namely The Waffle House, Store Number 576, located at 5180 Carmichael

Road, Montgomery, Alabama 36106.

       5.      All actions and conduct of the aforementioned defendants, employees, agents,

servants and/or representatives of Defendant Waffle House that form the underlying basis of the

claims and causes of action being asserted herein, occurred within the line and scope of their

employment, agency and/or representative capacity with Waffle House,

       6.      Plaintiff avers that as a business invitee he was lawfully on the premises of Waffle

House, patronizing the business establishment. In said capacity, the plaintiff avers that the

defendants owed him an affirmative duty not to subject him to harm. The plaintiff further avers that

he complained to management and staff about the services being rendered, specifically that said

services were less than satisfactory. Plaintiff avers that the defendants took umbrage to his

complaint and proceeded to call law enforcement. In response to the defendants' telephone call,

officer J R Cullen with the City of Montgomery Police Department appeared and proceeded to
                                          1-12 Filed 04/13/17 Page 3 of 8
                                   DOCUMENT
          Case 2:17-cv-00220-CSC Document



arrest the plaintiff.

        7.       Plaintiff avers that as a direct and proximate cause of the actions of the defendants,

he was falsely arrested, falsely imprisoned and maliciously prosecuted. Plaintiff further avers that

the actions of the defendants contravenes the defendant Waffle House internal policy and

representation to the public, particularly people of black African heritage, conspicuously displayed

at its place of business, pursuant to a consent decree and litigation settlement agreement relative to

its admission of having a history, pattern and practice of engaging in racial discrimination against

said people and in an effort to make amends, accommodate and acquiesce the patronage of said

people free of discrimination practices.

        8.       The plaintiff avers that as a direct and proximate cause of the actions of the

defendants he suffered intentional and/or negligent infliction of emotional distress, including

physical injury for which he had to seek medical care and treatment.

        9.       The plaintiff avers that he has had a stellar career as law enforcement officer for the

City of New York, (NYPD), and at all times material hereto he was in retired status with NYPD.

That the defendants' representations to officers with the Montgomery Police Department were

tantamount to slander and defamation of his good name and character.

                                                    COUNT!

                                     NEGLIGENCE & WANTONNESS

        10.      Plaintiff avers that the defendants' actions amourit to negligence, as they owed him

an affirmative duty as a business invitee to their premises not to cause him harm or injury. That the

defendants negligently and/or wantonly, in disregard of the plaintiff's rights as a business invitee,

caused the plaintiff to be the victim of an unlawful arrest, false imprisonment and malicious

prosecution. Plaintiff avers that he suffered physical injury and emotional anguish has a proximate

cause of the negligence and/or wantonness of the defendants and a breach of their duty owed him.
                                      DOCUMENT 2
             Case 2:17-cv-00220-CSC Document 1-1 Filed 04/13/17 Page 4 of 8



        WHEREFORE, PREMISES CONSIDERED, the plaintiff seeks a jury award for

compensatory and punitive damages, plus any further and/or different relief the Court deems fair

and just, including, but not limited to, his cost of bringing this action.

                                                COUNT II

        FALSE ARREST, FALSE IMPRISONMENT & MALICIOUS PROSECUTION

            11.   The plaintiff avers that the defendants' telephone call to law enforcement was

without probable cause to that he had committed any criminal offense. That as a direct and

proximate of the actions of the defendants, the plaintiff was detained, arrested and prosecuted. That

said detention, arrest and prosecution, was unlawful.

            12.   Plaintiff avers that as a direct and proximate resiIt of the defendants' actions he was

caused to suffer damages, including, but not limited to, physical injury and emotional harm.

        WHEREFORE, PREMISES CONSIDERED, plaintiffs pray that this cause be tried and

submitted to a jury for the return of a verdict and that this Coui4 grant judgment in his favor and

against the defendants and Fictitious Party Defendants A through Z, jointly and severally, for

compensatory and punitive damages in an amount to be determined by the jury as being just and

proper under the circumstances which forms the underlying basis to this cause of action. Further,

plaintiff demands that he be awarded his costs of this action plus any interests to which he is justly

entitled.




                                                   COUNT III

                                         DEFAMATION & SLANDER

        13.       Plaintiff avers that the actions of the defendant as complained of herein amounts to

slander per se and a defamation of his good name and character.
         Case 2:17-cv-00220-CSC Document 1-1 Filed 04/13/17 Page 5 of 8



        14.     Plaintiff avers that the defendants' actions and representations to Montgomery

Police Department imputed to the plaintiff a criminal offense involving infamy or moral turpitude.

Indeed, the Plaintiff is a well decorated and retired law enforcement officer of NYPD with no prior

criminal history, never in all his life been arrested, placed in handcuffs, put in police custody, under

arrest, and placed in the back of a police cruise as a presumed criminal.

        15.     As a direct and proximate result of the actions as complained herein, the plaintiff has

suffered damages, including, but not limited to, emotional anguish.

        WHEREFORE, PREMISES CONSIDERED, the plaintiff seeks a jury award for

compensatory and punitive damages, plus any further and/or different relief the Court deems fair

and just, including, but not limited to his cost of bringing this action.

                                                Respectfully submitted,

                                                /s/Amardo Wesley Fitters
                                                Amardo Wesley Pitters, Esq.
                                                Attorney for the Plaintiff
                                                Attorney Bar Code: P1T025

OF COUNSEL:

A. WESLEY FITTERS, P.C.
1145 South Perry Street
Post Office Box 1973
Montgomery, Alabama 36102
Telephone: (334) 265-3333
Telecopier: (334) 265-3411
Email: awpitters@pitterslawfirm.com


                                                /5/ William Howard Turner
                                                William Howard Turner, Esq.
                                                Attorney for the Plaintiff
                                                Attorney Bar Code: TUROIO

WILLIAM HOWARD TURNER, ESQUIRE
ATTORNEY-AT-LAW
449 South McDonough Street
Montgomery, Alabama 36104
                                 DOCUMENT
        Case 2:17-cv-00220-CSC Document 1-12 Filed 04/13/17 Page 6 of 8



Telephone: (334) 265-7818
Telefax: (334) 265-7860



                       PLAINTIFF DEMANDS TRIAL BY JURY.
	

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                     Case 2:17-cv-00220-CSC Document 1-15 Filed 04/13/17 Page 7 of 8
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    State of Alabama	                                   SUMMONS	                              Case Nu	             CIRCUIT COURT OF
    Unified Judicial System	
                                                                                                             MONTGOMERY COUNTY, ALAI AMA
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                                                                                              03-CV-	
    Form C-34 Rev 6/88

                                            IN THE CIRCUIT COURT OF MONTGOMERY COUNTY
                                              AARON L THORN V. WAFFLE HOUSE, INC. ET AL
                        NEL GRAINW000, 5180 CARMICHAEL ROAD, MONTGOMERY, AL 3606
      N OT I CE TO
      THE COMPLAINT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT AND YOU MUST TAKE IMMEDIATE ACTION
      TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE ORIGINAL OF YOUR WRITTEN
      ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT WITH THE CLERK OF THIS
      COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR HAND DELIVERED BY YOU OR YOUR ATTORNEY TO THE
      OPPOSING PARTY'S ATTORNEYAMARDO WESLEY PITFERS
      WHOSE ADDRESS IS 1145 SOUTH PERRY STREET, MONTGOMERY, AL 36104

      THE ANSWER MUST BE MAILED WITHIN 30 DAYS AFTER THIS SUMMONS AND COMPLAINT WERE DELIVERED TO
      YOU OR A JUDGMENT BY DEFAULT MAY BE ENTERED AGAINST YOU FOR THE MONEY OR OTHER THINGS
      DEMANDED IN THE COMPLAINT.
      TO ANY SHERIFF OR ANY PERSONNEL AUTHORIZED by the Alabama Rules of the Civil Procedure:
      E1 You are hereby commanded to serve this summons and a copy of the complaint in this action upon the defendant
        Service by certified mail of this summons is initiated upon the written request of
        pursuant to the Alabama Rules of the Civil Procedure
      Date 2/812017 5:22:20 PM	            Is/ TIFFANY B. MCCORD
                                              Clerk/Register
                                              251 S. LAWRENCE STREET
                                              MONTGOMERY, AL 36104


         Certified Mail is hereby requested
                                                      Plaintiffs/Attorney's Signature
      RETURN ON SERVICE:
         Rydn receipt of certified mail received in this office on
      ETcertify that I personally delivered a copy of the Summons and Complaint to 	            21 1$-/J	             31
                                        in	      t0""	                         \	       County, Alabama on

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                                                   AARON L THORN V. WAFFLE HOUSE, INC. ET AL
    COOT - AARON L THORN	                                                     V.    D003 - NEL GRAINWOOD
                               Plaintiff	                                                              Defendant



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                                                                                                 SERVICE RETURN
	

                                              DOCUMENT 5
                     Case 2:17-cv-00220-CSC Document 1-1 Filed 04/13/17 Page 8 of 8

    State of Alabama	                                       SUMMONS	                           Case Number:
    Unified Judicial System	                                 - CIVIL -	
                                                                                               03-CV-2017-900202.00
    Form C-34    Rev 6/88

                                             IN THE CIRCUIT COURT OF MONTGOMERY COUNTY
                                               AARON L THORN V. WAFFLE HOUSE, INC. ET AL
                        WAFFLE HOUSE, INC., 5180 CARMICHAEL ROAD, MONTGOMERY, AL 36106
      NOTICE TO
      THE COMPLAINT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT AND YOU MUST TAKE IMMEDIATE ACTION
      TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE ORIGINAL OF YOUR WRITTEN
      ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT WITH THE CLERK OF THIS
      COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR HAND DELIVERED BY YOU OR YOUR ATTORNEY TO THE
      OPPOSING PARTY'S ATTORNEY AMARDO WESLEY PITTERS
      WHOSE ADDRESS IS 1145 SOUTH PERRY STREET MONTGOMERY, AL 36104

      THE ANSWER MUST BE MAILED WITHIN 30 DAYS AFTER THIS SUMMONS AND COMPLAINT WERE DELIVERED TO
      YOU OR A JUDGMENT BY DEFAULT MAY BE ENTERED AGAINST YOU FOR THE MONEY OR OTHER THINGS
      DEMANDED IN THE COMPLAINT.
      TO ANY SHERIFF OR ANY PERSONNEL AUTHORIZED by the Alabama Rules of the Civil Procedure:
        You are herebycommanded to serve this summons and a copy of the complaint in this action upon the defendant
      El Service by certified mail of this summons is initiated upon the Written request of
        pursuant to the Alabama Rules of the Civil Procedure
      Date 2/8/2017 5:22:20 PM	        /s/ TIFFANY B. MCCORD
                                               Clerk/Register
                                               251 S. LAWRENCE STREET
                                               MONTGOMERY, AL 36104


      DCertified Mail is hereby requested
                                                       Plaintiffs/Attorney's Signature
      RETURN ON SERVICE:
     Lii Rft.receipt of certified mail received in this office on
         Icertify that I personally delivered a copy of the Summons and Complaint to - '(           1 )3 . Lt	           &-_      ______
                                         in   S	                                         County,Alabamaon   _!f.J..i-Cii._
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    COO -AARON LTHORN	                                                          v,   DOOl -WAFFLE HOUSE, INC.
                                Plaintiff	                                                             Defendant




                                               LEI                                                SERVICE RETURN
